       Case: 1:16-cv-06011 Document #: 1 Filed: 06/08/16 Page 1 of 7 PageID #:1


                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

ARRION L. SHELTON, on behalf of herself,       )
and all other plaintiffs similarly situated,   )   No. 16 cv
known and unknown,                             )
                                               )   Honorable Judge
                     Plaintiff                 )
                                               )   Magistrate Judge
                        v.                     )
                                               )   JURY DEMAND
SOUTH SHORE HOSPITAL                           )
                                               )
                    Defendant                  )
                                               )
                                               )

                                          COMPLAINT

        NOW COMES Plaintiff, ARRION L. SHELTON, on behalf of herself and all other Plaintiffs

similarly situated, by and through her attorney, JOHN W. BILLHORN, and for her Complaint

against Defendants, SOUTH SHORE HOSPITAL, states as follows:


I.      NATURE OF ACTION

        1. This action is brought under the Fair Labor Standards Act, 29 U.S.C. §201, et seq.,

the Portal-to-Portal Act, 29 U.S.C. §251 et seq. and the Illinois Minimum Wage Law, 820

ILCS §105/1 et seq.

II.     JURISDICTION AND VENUE

        2. Jurisdiction arises under the provisions of the Fair Labor Standards Act, 29 U.S.C.

§§ 206-207, the Portal-to-Portal Act, 29 U.S.C. §251 et seq., and for the supplemental Illinois

statutory claims, pursuant to 28 U.S.C. §1367. Venue lies in the Northern District of Illinois

in that during all times relevant to the employment relationship, Plaintiff performed work

in this district and is a resident of this district and Defendant is or was engaged in business

in this district.
        Case: 1:16-cv-06011 Document #: 1 Filed: 06/08/16 Page 2 of 7 PageID #:2



III.    THE PARTIES

        3. Defendant, SOUTH SHORE HOSPITAL, provides health care services to the

public. As such, Defendant’s services qualify as an enterprise engaged in commerce as

defined by the FLSA. During all relevant times, Defendant was acting directly or indirectly

in the interest of the employer in relation to the employee Plaintiff and therefore, as

defined under both the federal and state statutes relied upon, is and was an “employer.”

        4.   Plaintiff, ARRION L. SHELTON, is a former employee who worked for Defendant in

the capacity of a registered nurse (hereinafter referred to as “the named Plaintiff”). All

other unnamed Plaintiffs, known and unknown (hereinafter referred to as “members of the

Plaintiff Class” or “similarly situated Plaintiffs”), are past or present employees who work

or worked for Defendants in the same or similar capacity as the named Plaintiff herein. As

employees performing duties for an enterprise engaged in commerce, the named Plaintiff

and all members of the Plaintiff Class were also engaged in commerce as defined by the

FLSA.

        5.   The claims brought herein by the named Plaintiff are identical or similar to the

claims of other past and present employees who were subject to the non-compliant policies

and practices alleged herein.

        6.   The non-compliant practices as alleged herein were part of a variety of

practices and policies implemented and maintained by Defendant and are common to a

group or “class” of past and present employees. Those past and present employees are

entitled to receive Notice of these proceedings and afforded opportunity to join their

individual claims.



IV.     STATUTORY VIOLATIONS

        Collective Action Under The Fair Labor Standards Act

        7. Pursuant to the Fair Labor Standards Act, 29 U.S.C. §216(b), Count I of this action
is brought by Plaintiff as an opt-in representative or collective action, on behalf of herself

and other Plaintiffs similarly situated who have been damaged by Defendant’s failure to

                                              2
      Case: 1:16-cv-06011 Document #: 1 Filed: 06/08/16 Page 3 of 7 PageID #:3



comply with 29 U.S.C. §201 et seq. and §251 et seq. Count II alleges a willful violation of the

FLSA and seeks an additional third year of limitations. Count III seeks liquidated damages

under the Fair Labor Standards Act, Section 260.

       Illinois Minimum Wage Law

       8. Pursuant to the Illinois Minimum Wage Law, 820 ILCS §105/1 et seq., Count IV of

this action is brought by Plaintiff to recover unpaid back wages earned on or before the

date three (3) years prior to the filing of this action. Each and every Plaintiff who joins this

case in the future shall specifically adopt and assert the claims made under this Count IV.


V.     FACTUAL ALLEGATIONS RELEVANT TO ALL COUNTS

       9. Plaintiff at all times pertinent to the cause of action was employed by Defendant,

said employment being integral and indispensable to Defendant’s business.

       10. Defendant employed Plaintiff as a registered nurse and those job duties

qualified Plaintiff as an employee under the provisions of the FLSA and the pendent state

statues.

       11. Plaintiff was paid an hourly rate of pay for all work performed.

       12. Plaintiff and members of the Plaintiff class were required to work in excess of

forty (40) hours in a workweek without receiving the properly calculated time and one half

for those hours over forty (40) pursuant to the requirements of the federal and state

statutes herein relied upon.

       13. The overtime rate utilized by Defendant to pay Plaintiff and members of the

Plaintiff class was improper and inaccurate under the law because in calculating the

overtime rate for hours over forty (40), Defendant utilized a regular hourly rate that

neglected to include certain wage differential (i.e., enhanced hourly rate) for duties such as

charge nurse work, weekend work and third shift work.



                                               3
      Case: 1:16-cv-06011 Document #: 1 Filed: 06/08/16 Page 4 of 7 PageID #:4




                                          COUNT I


                       VIOLATION OF FAIR LABOR STANDARDS ACT

       1-13. Paragraphs 1 through 13 are re-alleged and incorporated as though set forth

fully herein as paragraphs 1 through 13 of this Count I.

       14.   Pursuant to the Fair Labor Standards Act, 29 U.S.C. §201 et seq., and the

Portal-to-Portal Act, 29 U.S.C. §251 et seq., the named Plaintiff, and all other Plaintiffs

similarly situated, known and unknown, are entitled to compensation at a rate not less than

one and one-half times the regular rate of pay for all hours worked in excess of forty (40)
hours, in any week during the two (2) years preceding the filing of this action.

       15.   Defendant has at all times relevant hereto failed and refused to pay

compensation to their employees, including the named Plaintiff herein, and all other

Plaintiffs similarly situated, known and unknown, as described above.

       WHEREFORE, Plaintiff, on behalf of herself, and all other Plaintiffs similarly situated,

known and unknown, respectfully requests this Court to enter an order:

       (a)     awarding back pay equal to the amount of all unpaid overtime compensation
for the two (2) years preceding the filing of this Complaint, according to the applicable
statute of limitations;

       (b)  awarding prejudgment interest with respect to the total amount of unpaid
overtime compensation;

      (c)     awarding Plaintiff reasonable attorney’s fees and costs incurred as a result of
Defendant’s violations of the Fair Labor Standards Act; and,

      (d)    for such additional relief as the Court deems appropriate under the
circumstances.


                                          COUNT II

                WILLFUL VIOLATION OF THE FAIR LABOR STANDARDS ACT

       1-15. Paragraphs 1 through 15 of Count I are realleged and incorporated as though

set forth fully herein as Paragraphs 1 through 15 of Count II.

                                              4
      Case: 1:16-cv-06011 Document #: 1 Filed: 06/08/16 Page 5 of 7 PageID #:5




       16.   Defendant’s actions as complained of above were done with Defendant’s

knowledge that the compensation policies and practices at issue were in violation of the

statutes alleged, or with a reckless disregard for whether or not the policy and practice

were in violation of those statutes.

       17.   Pursuant to the Fair Labor Standards Act, Plaintiff and all other employees

similarly situated, past or present, are entitled to compensation at a rate not less than one

and one-half times their regular rate of pay for all hours worked in excess of forty (40), in

the three (3) years preceding the filing of this complaint.

       WHEREFORE, Plaintiff, on behalf of herself and all other Plaintiffs similarly situated,

known and unknown, respectfully requests this Court to enter an order:

       (a)    awarding back pay equal to the amount of all unpaid compensation for one
(1) additional year, totaling three (3) years preceding the filing of this Complaint;

       (b)  awarding prejudgment interest with respect to the amount of unpaid
overtime compensation;

        (c)    awarding Plaintiff reasonable attorney’s fees and Court costs incurred as a
result of Defendants’ violation of the Fair Labor Standards Act; and

      (d)    for such additional relief the Court deems appropriate under the
circumstances.

                                          COUNT III

                                LIQUIDATED DAMAGES
                         UNDER THE FAIR LABOR STANDARDS ACT


       1-17. Paragraphs 1 through 17 of Count II are re-alleged and incorporated as

though set forth fully herein as Paragraphs 1 through 17 of Count III.

       18.   In denying the named Plaintiff and members of the Plaintiff Class
compensation as described above, Defendant’s acts were not based upon good faith or

reasonable grounds.


                                               5
      Case: 1:16-cv-06011 Document #: 1 Filed: 06/08/16 Page 6 of 7 PageID #:6



       19.   The named Plaintiff and all other past and present employees similarly

situated, known and unknown, are entitled to liquidated damages equal to the amount of

all unpaid compensation, pursuant to 29 U.S.C. §260.

       WHEREFORE, Plaintiff, on behalf of herself and all other Plaintiffs similarly situated,

known and unknown, respectfully requests this Court to enter an order:


     (a)    awarding liquidated damages equal to the amount of all unpaid
compensation;

      (b)     awarding Plaintiff reasonable attorney’s fees and costs incurred as a result of
Defendant’s violation of the Fair Labor Standards Act; and

      (c)    for such additional relief the Court deems appropriate under the
circumstances.

                                         COUNT IV

                             SUPPLEMENTAL STATE LAW CLAIM
                       VIOLATION OF THE ILLINOIS MINIMUM WAGE LAW

       1-19. Paragraphs 1 through 19 of Count III are re-alleged and incorporated as

though set forth fully herein as Paragraphs 1 through 19 of this Count IV.

       20. As described in the foregoing paragraphs, Defendant’s compensation policies

and practices are in violation of the Illinois Minimum Wage Law, 820 ILCS §115/1 et seq.

       21. During a portion or all of the relevant time at issue herein, the Illinois Minimum
Wage Law provided that an employer who fails to pay the required amount of wages due

an employee under the law shall be liable to the underpaid employee or employees for the

unpaid wages and for punitive damages in the amount of 2% of the amount of such

underpayments for each month following the date such underpayments remain unpaid.

       22. Defendant’s failure to pay compensation as described above, has been willful

and/or in bad faith.




                                              6
      Case: 1:16-cv-06011 Document #: 1 Filed: 06/08/16 Page 7 of 7 PageID #:7



       WHEREFORE, Plaintiff, on behalf of herself and all other Plaintiffs similarly situated,

known and unknown, respectfully requests this Court to enter an order:


       (a)    declaring and decreeing Defendant’s compensation practices as described
herein, and such other violations which may come to light during the prosecution of this
matter, in violation of the provisions of the Illinois Minimum Wage Law;

        (b)    awarding an amount of damages, to be shown by the evidence, to which
Plaintiff and other members of the Plaintiff Class are entitled;

       (c)    allowing this Court to retain jurisdiction of the case until such time it is
assured Defendant has remedied the compensation policies and practices complained of
herein and are determined to be in full compliance with the law;

        (d)    directing Defendant to pay to Plaintiff reasonable attorney’s fees, costs, and
litigation expenses, as provided by statute;

      (e)    for such additional relief the Court deems just and appropriate under the
circumstances.

                                                  Respectfully submitted,

                                                  Electronically Filed 6/8/2016

                                                  /s/ John W. Billhorn
                                                  ___________________________
                                                  John William Billhorn



                                                  BILLHORN LAW FIRM
                                                  53 West Jackson Blvd., Suite 840
                                                  Chicago, IL 60604
                                                  (312) 853-1450

                                                  Attorney for Plaintiff, and all other
                                                  Plaintiffs similarly situated, known or
                                                  unknown.




                                              7
